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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 1:18-24190-CIV-SMITH
                      _______________________________

                            WILLIAM O. FULLER AND
                             MARTIN PINILLA, II,
                                 PLAINTIFFS,

                                       V.

                        COMMISSIONER JOE CAROLLO,
                                DEFENDANT.
                      ________________________________

      DEFENDANT COMMISSIONER CAROLLO’S ANSWER AND AFFIRMATIVE
              DEFENSES TO SECOND AMENDED COMPLAINT
                  _________________________________

   THOMAS E. SCOTT                       BENEDICT P. KUEHNE
   FLORIDA BAR NO. 149100                FLORIDA BAR NO. 233293
   COLE, SCOTT & KISSANE                 MICHAEL T. DAVIS
   9150 S. DADELAND BLVD., STE 1400      FLORIDA BAR NO. 63374
   MIAMI, FL 33156                       KUEHNE DAVIS LAW, P.A.
   TEL: 305-350-5381                     100 S.E. 2 ST., SUITE 3105
   FAX: 305-373-2294                     MIAMI, FL 33131-2154
   THOMAS.SCOTT@CSKLEGAL.COM             TEL: 305.789.5989
   COUNSEL FOR COMMISSIONER              FAX: 305.789.5987
   CAROLLO                               EFILING@KUEHNELAW.COM
                                         COUNSEL    FOR     COMMISSIONER
                                         CAROLLO
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     DEFENDANT COMMISSIONER CAROLLO’S ANSWER AND
   AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT
        City of Miami Commissioner Joe Carollo, sued in his official

  capacity as an elected representative of the citizens of the City of

  Miami, Florida, responds to the materially false, fictitious, and

  perjured Second Amended Complaint (SAC) (DE125). The entire

  lawsuit is frivolous and fabricated, presenting false allegations the

  plaintiffs know are untrue, all in the process of committing a fraud

  on the court to obtain a political, strategic, and economic advantage

  in plaintiffs’ pursuit of illegal and harmful activity in the City and

  District 3 where Commissioner Carollo has been entrusted by the

  citizens to protect their quality of life and community.

                               INTRODUCTION

        Commissioner Carollo denies the false narrative presented in

  the first unnumbered paragraph of the SAC, at page 1. This

  paragraph should be stricken from the SAC. Countermanding the

  plaintiffs’ unsworn statements, the plaintiffs and their businesses are

  engaged in repeated, persistent violations of the City of Miami Code.

  They have hidden their violations through subterfuge and deception.

  Their reprehensible tactics include intimidation, payback, and

  impermissible payments. Their conduct in transacting their business

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  operations has been accompanied by rampant illegality that should

  result in the revocation of their licenses to do business in the City.

        Commissioner Carollo denies the false narrative presented in

  the second unnumbered paragraph of the SAC, at pages 1-2. This

  paragraph should be stricken from the SAC. Undercutting the

  plaintiffs’ unsworn statements is their involvement in obtaining

  funding from Venezuelan sources that raise questions of national

  security    and    the   legality   of    their   financial   transactions.

  Commissioner Carollo’s actions in pursuit of his legislative

  responsibility to the citizens who elected him have been compliant

  with the City of Miami Charter and all applicable law. The City of

  Miami’s current regulatory enforcement of its Code applied to the

  plaintiffs and their business interests are consistent with City

  authorization, overseen by the City administration, and enhanced by

  Commissioner Carollo’s responsible inquiries designed to protect and

  enhance the quality of life and business for the District 3 community.

  Plaintiffs, who have unfairly skirted enforcement for years to the

  detriment of the City, the residents, and competing businesses, must

  now play by the same rules applicable to all.

        Commissioner Carollo denies the false narrative presented in


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  the third unnumbered paragraph of the SAC, at pages 2-3. This

  paragraph should be stricken from the SAC Commissioner Carollo

  has taken no action to “drive plaintiffs out of business.” Regulatory

  enforcement of the City Code has been evenhandedly applied by the

  City Administration. Commissioner Carollo does not enforce the

  Code. He is empowered, however, to conduct inquiries as to the

  situation existing in his District as a legislative and policy-making

  member of the Commission. The deliberative actions of the City of

  Miami Commission, of which Commissioner Carollo is one of five

  members, are and have been consistent with the constitutional,

  statutory, and Charter authority to conduct municipal business in

  the best interests of the City and its residents.

        Commissioner Carollo denies the false narrative presented in

  the fourth unnumbered paragraph of the SAC, at page 3. This

  paragraph should be stricken from the SAC. The assertions in this

  paragraph are false and known by the plaintiffs to be false.

  Commissioner Carollo’s conduct in the course and furtherance of his

  official responsibilities as an elected City Commissioner have been

  entirely consistent with the Constitution and the laws of the United

  States and the State of Florida. Plaintiff’s’ efforts to mislead the Court


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  by preventing Commissioner Carollo from fulfilling his sworn

  responsibilities to the public must be rejected in their entirety and

  this case dismissed.

        Commissioner Carollo denies the false narrative presented in

  the fifth unnumbered paragraph of the SAC, at page 3. This

  paragraph should be stricken from the SAC. Commissioner Carollo’s

  own free speech right protected by the First Amendment, coupled

  with his constitutional duties as an elected official, requires that he

  protect and preserve the quality of life and business environment for

  the City of Miami residents in District 3 and throughout the City.

  Plaintiffs’ litigation attempts to create a special privilege for

  themselves and their business illegalities have no legal foundation.

  Nor does the plaintiffs’ claim for speculative and fanciful “emotional

  distress and mental anguish” have any factual or legal foundation.

  The claim for punitive damages must be stricken from the SAC.

                   PARTIES, JURISDICTION, AND VENUE

        1.    As to paragraph 1, Commissioner Carollo has no personal

  knowledge and accordingly denies the allegations and demands strict

  proof thereof.

        2.    As to paragraph 2, Commissioner Carollo has no personal


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  knowledge and accordingly denies the allegations and demands strict

  proof thereof.

        3.    As to paragraph 3, Commissioner Carollo has no personal

  knowledge and accordingly denies the allegations and demands strict

  proof thereof.

        4.    As to Paragraph 4, Commissioner Carollo admits the

  allegations.

        5.    As to paragraph 5, Commissioner Carollo asserts the

  allegation constitutes a statement of law to which neither an

  admission nor denial is required.

        6.    As to paragraph 6, Commissioner Carollo asserts the

  allegation constitutes a statement of law to which neither an

  admission nor denial is required.

        7.    As to paragraph 7, Commissioner Carollo asserts the

  allegation constitutes a statement of law to which neither an

  admission nor denial is required. Further, Commissioner Carollo

  denies plaintiffs have any right or ability to proceed with this false

  and fraudulent lawsuit.




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                               ALLEGATIONS

        8.    As to paragraph 8, Commissioner Carollo has no personal

  knowledge and accordingly denies the allegations and demands strict

  proof thereof.

        9.    As to paragraph 9, Commissioner Carollo has no personal

  knowledge and accordingly denies the allegations and demands strict

  proof thereof.

        10. As to paragraph 10, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        11. As to paragraph 11, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        12. As to paragraph 12, including the footnote, Commissioner

  Carollo has no personal knowledge and accordingly denies the

  allegations and demands strict proof thereof.

        13. As to paragraph 13, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        14. As to paragraph 14, including the footnote, Commissioner


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  Carollo has no personal knowledge and accordingly denies the

  allegations and demands strict proof thereof.

        15. As to paragraph 15, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        16. As to paragraph 16, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        17. As to paragraph 17, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        18. As to paragraph 18, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof. Commissioner Carollo further denies

  the allegation of no complaints and citations, asserting plaintiffs and

  their properties and business are the subjects of numerous

  complaints and enforcement actions.

        19. As to paragraph 19, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.


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        20. As to paragraph 20, including the footnote, Commissioner

  Carollo has no personal knowledge and accordingly denies the

  allegations and demands strict proof thereof.

        21. As to paragraph 21, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        22. As to paragraph 22, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        23. As to paragraph 23, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        24. As to paragraph 24, Commissioner Carollo has no

  personal knowledge and accordingly denies the allegations and

  demands strict proof thereof.

        25. As to paragraph 25, Commissioner Carollo admits the

  allegation, and further states the plaintiffs were not involved in

  obtaining the historic designation.

        26. As to paragraph 26, including the footnote, Commissioner

  Carollo has no personal knowledge and accordingly denies the


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   allegations and demands strict proof thereof. Commissioner Carollo

   further denies the plaintiffs had “great relationships” with all City

   officials.

                   THE RACE FOR CITY COMMISSSION

         27. As to paragraph 27, Commissioner Carollo admits he

   opened his campaign for City of Miami Commission District 3 but

   denies the remainder of the allegations.

         28. As to paragraph 28, including the footnote, Commissioner

   Carollo has no personal knowledge and accordingly denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies the allegation of “other prominent Miami Mayors ...”

         29. As to paragraph 29, Commissioner Carollo admits to

   plaintiff fuller meeting with him, but denies the remainder of the

   allegations.

         30. As to paragraph 30, including the footnote, Commissioner

   Carollo has no personal knowledge and accordingly denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies the allegation that Miro was “a top campaign staffer

   for Carollo” since he was not.

         31. As to paragraph 31, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   he had “main opponents” in the race for Commission District 3 in

   that all qualified candidates are equally entitled to seek the vote of

   the citizens for the position.

         32. As to paragraph 32, Commissioner Carollo admits the

   allegations.

         33. As to paragraph 33, including the footnote, Commissioner

   Carollo denies the allegations.

         34. As to paragraph 34, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

   CAROLLO SHUTS DOWN ALFIE LEON RALLIES ON PLAINTIFFS’
                      PROPERTIES
         35. As to paragraph 35, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         36. As to paragraph 36, Commissioner Carollo admits the

   allegations as to the “two locations” but denies one location was

   “directly across from one of Plaintiffs’ properties.”

         37. As to paragraph 37, Commissioner Carollo has no

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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         38. As to paragraph 38, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         39. As to paragraph 39, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         40. As to paragraph 40, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         41. As to paragraph 41, Commissioner Carollo has no

   personal knowledge of what constitutes a “comparable event” and

   accordingly denies the allegations and demands strict proof thereof.

         42. As to paragraph 42, including the footnote, Commissioner

   Carollo denies the allegations and demands strict proof thereof.

         43. As to paragraph 43, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         44. As to paragraph 44, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         45. As to paragraph 45, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         46. As to paragraph 46, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         47. As to paragraph 47, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   the allegations as to a “threat to Carollo’s chance of winning …”

         48. As to paragraph 48, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         49. As to paragraph 39, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   the allegations as to “exploited any City contact …”

         50. As to paragraph 50, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   the allegations as to “based on Carollo’s efforts …”

         51. As to paragraph 51, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   the allegations as to “that Carollo camp was responsible …”

         52. As to paragraph 52, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         53. As to paragraph 53, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies the allegations as to “indeed may have lost the run-off

   election …”

         54. As to paragraph 54, Commissioner Carollo admits the

   allegations as to being sworn in, but the remainder of the allegations

   constitute a statement of law to which neither an admission nor a

   denial is required.

          RELEVANT CITY OF MIAMI CHARTER PROVISIONS

         55. As to paragraph 55, Commissioner Carollo asserts the


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   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         56. As to paragraph 56, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         57. As to paragraph 57, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         58. As to paragraph 58, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

            CAROLLO’S RETALIATION AGAINST PLAINTIFFS

         59. As to paragraph 59, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         60. As to paragraph 60, including the footnote, Commissioner

   Carollo has no personal knowledge and accordingly denies the

   allegations and demands strict proof thereof.

         61. As to paragraph 61, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.


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         62. As to paragraph 62, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         63. As to paragraph 63, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         64. As to paragraph 64, including the footnote, Commissioner

   Carollo has no personal knowledge and accordingly denies the

   allegations and demands strict proof thereof.

         65. As to paragraph 65, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         66. As to paragraph 66, including the footnote, Commissioner

   Carollo has no personal knowledge and accordingly denies the

   allegations and demands strict proof thereof.

         CAROLLO ATTACKS PLAINTIFFS’ CHRISTMAS PARTY

         67. As to paragraph 67, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         68. As to paragraph 68, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         69. As to paragraph 69, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         70. As to paragraph 70, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         71. As to paragraph 71, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         72. As to paragraph 72, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         73. As to paragraph 73, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         74. As to paragraph 74, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         75. As to paragraph 75, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         76. As to paragraph 76, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         77. As to paragraph 77, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         78. As to paragraph 78, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         79. As to paragraph 79, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         80. As to paragraph 80, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         81. As to paragraph 81, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.


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         82. As to paragraph 82, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         83. As to paragraph 83, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         84. As to paragraph 84, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         85. As to paragraph 85, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         86. As to paragraph 86, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         87. As to paragraph 87, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         88. As to paragraph 88, including the footnote, Commissioner

   Carollo has no personal knowledge and accordingly denies the


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   allegations and demands strict proof thereof.

         89. As to paragraph 89, including the footnote, Commissioner

   Carollo has no personal knowledge and accordingly denies the

   allegations and demands strict proof thereof.

         90. As to paragraph 90, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

   RETALIATION AGAINST BARLINGTON GROUP AND ITS TENANT
                   “SANGUICH DE MIAMI”
         91. As to paragraph 91, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         92. As to paragraph 92, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         93. As to paragraph 93, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         94. As to paragraph 94, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

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         95. As to paragraph 95, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         96. As to paragraph 96, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         97. As to paragraph 97, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         98. As to paragraph 98, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         99. As to paragraph 99, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         100. As to paragraph 100, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         101. As    to    paragraph     101,    including     the    footnote,

   Commissioner Carollo admits to the meeting and his position


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   favoring legitimate businesses operating within the law, but denies

   the remainder of the allegations and demands strict proof thereof.

         102. As to paragraph 102, Commissioner Carollo admits to the

   City of Miami Commission meeting, states that the events at that

   meeting are matters of public record and denies the remainder of the

   allegations and demands strict proof thereof.

         103. As to paragraph 103, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   the allegation “could no longer be used …”

         104. As    to    paragraph     104,    including     the    footnote,

   Commissioner Carollo has no personal knowledge and accordingly

   denies the allegations and demands strict proof thereof.

         105. As to paragraph 105, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         106. As    to    paragraph     106,    including     the    footnote,

   Commissioner Carollo has no personal knowledge and accordingly

   denies the allegations and demands strict proof thereof.

         107. As to paragraph 107, Commissioner Carollo denies the


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   allegations and demands strict proof thereof.

         108. As to paragraph 108, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         109. As to paragraph 109, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         110. As to paragraph 110, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         111. As to paragraph 111, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   plaintiffs incurred any recoverable damages.

         112. As to paragraph 112, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.


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       RETALIATION AGAINST PLAINTIFFS AND THEIR TENANT
                         UNION BEER
         113. As to paragraph 113, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         114. As to paragraph 114, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         115. As to paragraph 115, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         116. As to paragraph 116, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         117. As to paragraph 117, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         118. As to paragraph 118, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         119. As to paragraph 119, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

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   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.

     CAROLLO’S RETALIATION AGAINST BALL & CHAIN’S VALET
                        OPERATIONS
         120. As to paragraph 120, Commissioner Carollo admits to

   entering the parking lot.

         121. As to paragraph 121, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         122. As to paragraph 122, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         123. As to paragraph 123, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         124. As to paragraph 124, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         125. As to paragraph 125, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

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         126. As to paragraph 126, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         127. As to paragraph 127, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         128. As to paragraph 128, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         129. As to paragraph 129, including the footnotes, the

   transcript of Commissioner Carollo’s “testimony to the Ethics

   Commission” is a matter of public record and speaks for itself.

   Commissioner Carollo denies the summary provided in the

   allegations and demands strict proof thereof.

         130. As to paragraph 130, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         131. As to paragraph 131, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.




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    CAROLLO’S RETALIATORY ACTIONS AT THE GAY 8 FESTIVAL
         132. As to paragraph 132, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         133. As to paragraph 133, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         134. As to paragraph 134, Commissioner denies the allegations

   and demands strict proof thereof.

         135. As to paragraph 135, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         136. As to paragraph 136, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         137. As to paragraph 137, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         138. As to paragraph 138, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         139. As to paragraph 139, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.


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         140. As to paragraph 140, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         141. As to paragraph 141, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         142. As to paragraph 142, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         143. As to paragraph 143, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts he targeted no vendor.

         144. As to paragraph 144, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.

       CAROLLO ORDERS CODE ENFORCEMENT OFFICERS TO
           TARGET OTHER PROPERTIES OF PLAINTIFFS
         a.   The March 3, 2018 Carollo Ride Along
         145. As to paragraph 145, Commissioner Carollo denies the


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   allegations and demands strict proof thereof.

         146. As to paragraph 146, including footnotes, Commissioner

   Carollo has no personal knowledge and accordingly denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies the allegation he instructed a Code Enforcement

   officer and demands strict proof thereof.

         147. As to paragraph 147, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   the allegation as to what he “said he believed …” and demands strict

   proof thereof.

         148. As to paragraph 148, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   the allegations that “he wanted to search for code violations” and

   demands strict proof thereof.

         149. As    to    paragraph     149,    including     the    footnote,

   Commissioner Carollo has no personal knowledge and accordingly

   denies the allegations and demands strict proof thereof.

         150. As    to    paragraph     150,    including     the    footnote,


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   Commissioner Carollo has no personal knowledge and accordingly

   denies the allegations and demands strict proof thereof.

         151. As to paragraph 151, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         152. As to paragraph 152, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         153. As    to    paragraph     153,    including     the    footnote,

   Commissioner Carollo has no personal knowledge and accordingly

   denies the allegations and demands strict proof thereof.

         154. As to paragraph 154, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         155. As to paragraph 155, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         156. As to paragraph 156, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies


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   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.

         b.   The March 14, 2018 Park and Walk – Fabricated Noise
              Complaints
         157. As to paragraph 157, including the footnote, including the

   footnote, Commissioner Carollo admits to being in the presence of

   City staff on March 14, 2018, but denies the remainder of the

   allegations and demands strict proof thereof.

         158. As to paragraph 158, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         159. As to paragraph 159, Commissioner Carollo admits to

   meeting with residents in his official role as City Commissioner but

   otherwise denies the allegations and demands strict proof thereof.

         160. As to paragraph 160, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         161. As to paragraph 161, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         162. As to paragraph 162 Commissioner Carollo has no

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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         163. As to paragraph 163, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         164. As to paragraph 164, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.

          FULLER’S ETHICS COMPLAINT AGAINST CAROLLO

         165. As to paragraph 164, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any Ethics Complaint is a matter of public record that speaks

   for itself. Commissioner Carollo further asserts the Ethics Complaint

   was   dismissed     by   the   Miami-Dade     Commission      on    Ethics,

   constituting an administrative determination in Commissioner

   Carollo’s favor.


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          166. As to paragraph 166, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts that any Ethics Complaint is a matter of public record

   that speaks for itself. Commissioner Carollo further asserts the

   Ethics Complaint was dismissed by the Miami-Dade Commission on

   Ethics,     constituting     an   administrative           determination    in

   Commissioner Carollo’s favor.

          167. As to paragraph 167, including footnotes, Commissioner

   Carollo denies the allegations and demands strict proof thereof.

   Commissioner Carollo further asserts that any Ethics Complaint is a

   matter of public record that speaks for itself. Commissioner Carollo

   further asserts the Ethics Complaint was dismissed by the Miami-

   Dade      Commission    on   Ethics,        constituting   an   administrative

   determination in Commissioner Carollo’s favor.

          168. As to paragraph 168, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

          169. As to paragraph 169, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts has no personal knowledge as to these allegations and

   accordingly denies the allegations and demands strict proof thereof.


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         170. As to paragraph 170, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         171. As to paragraph 171, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any Ethics Complaint is a matter of public record that speaks

   for itself. Commissioner Carollo further asserts the Ethics Complaint

   was   dismissed     by   the   Miami-Dade     Commission      on    Ethics,

   constituting an administrative determination in Commissioner

   Carollo’s favor.

         172. As to paragraph 172, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any Ethics Complaint is a matter of public record that speaks

   for itself. Commissioner Carollo further asserts the Ethics Complaint

   was   dismissed     by   the   Miami-Dade     Commission      on    Ethics,

   constituting an administrative determination in Commissioner

   Carollo’s favor.

         173. As to paragraph 173, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any Ethics Complaint is a matter of public record that speaks

   for itself. Commissioner Carollo further asserts the Ethics Complaint

   was   dismissed     by    the   Miami-Dade    Commission      on    Ethics,

   constituting an administrative determination in Commissioner

   Carollo’s favor.

         174. As to paragraph 174, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts that any Ethics Complaint is a matter of public record

   that speaks for itself. Commissioner Carollo further asserts the

   Ethics Complaint was dismissed by the Miami-Dade Commission on

   Ethics,    constituting     an    administrative      determination      in

   Commissioner Carollo’s favor.

         175. As to paragraph 175, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any Ethics Complaint is a matter of public record that speaks

   for itself. Commissioner Carollo further asserts the Ethics Complaint

   was   dismissed     by    the   Miami-Dade    Commission      on    Ethics,


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   constituting an administrative determination in Commissioner

   Carollo’s favor.

   CAROLLO TARGETS PLAINTIFFS’ CALLE OCHO MARKETPLACE
         176. As to paragraph 176, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         177. As to paragraph 177, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         178. As to paragraph 178, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         179. As to paragraph 179, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         180. As to paragraph 180, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.


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         181. As to paragraph 181, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         182. As to paragraph 182, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         183. As to paragraph 183, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         184. As to paragraph 184, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.


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         185. As to paragraph 185, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts that any official City action is a matter of public record

   that speaks for itself.

         186. As to paragraph 186, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts that any official City enforcement action is a matter

   of public record that speaks for itself.

         187. As to paragraph 187, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         188. As to paragraph 188, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         189. As to paragraph 189, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and


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   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         190. As to paragraph 190, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.

    CAROLLO’S RETALIATION AGAINST THE PLAINTIFFS’ USE OF
                THE 7TH STREET PARKING LOT
         191. As to paragraph 191, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         192. As to paragraph 192, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

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         193. As to paragraph 193, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself. Commissioner Carollo further asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         194. As to paragraph 194, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         195. As to paragraph 195, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any official City enforcement action is a matter of public record

   that speaks for itself.

         196. As to paragraph 196, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts


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   that any official City enforcement action is a matter of public record

   that speaks for itself.

         197. As to paragraph 197, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   that any public records request is a matter of public record that

   speaks for itself.

         198. As to paragraph 198, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         199. As to paragraph 199, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         200. As to paragraph 200, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         201. As to paragraph 201, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         202. As to paragraph 202, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         203. As to paragraph 203, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         204. As    to    paragraph     204,    including     the    footnote,

   Commissioner Carollo has no personal knowledge and accordingly

   denies the allegations and demands strict proof thereof.

         205. As to paragraph 205, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         206. As to paragraph 206, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         207. As to paragraph 207, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further denies

   plaintiffs experienced any recoverable damages and suggests they

   seek mental health treatment for their claims of mental anguish not

   resulting from any conduct on the part of Commissioner Carollo.


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     CAROLLO IS DISCOVERED LURKING BEHIND BALL & CHAIN
        NEXT TO THE 7TH STREET PARKING LOT AT 9 PM
               SEARCHING FOR CODE VIOLATIONS
         208. As to paragraph 208, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         209. As    to    paragraph     209,    including     the    footnote,

   Commissioner Carollo admits to being in his Commission District for

   official business, but denies the remainder of the allegations and

   demands strict proof thereof.

         210. As to paragraph 210, Commissioner Carollo admits to

   being in his Commission District for official business but denies the

   remainder of the allegations and demands strict proof thereof.

         211. As to paragraph 211, Commissioner Carollo admits to

   being in his Commission District for official business but denies the

   remainder of the allegations and demands strict proof thereof.

         212. As to paragraph 212, Commissioner Carollo admits to

   being in his Commission District for official business but denies the

   remainder of the allegations and demands strict proof thereof.

         213. As to paragraph 213, Commissioner Carollo denies the

   allegations and demands strict proof thereof.


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         214. As to paragraph 214, Commissioner Carollo admits to

   being in his Commission District for official business but denies the

   remainder of the allegations and demands strict proof thereof.

         215. As to paragraph 215, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

     CAROLLO’S RETALIATION AGAINST VIERNES CULTURALES
         216. As to paragraph 216, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         217. As to paragraph 217, Commissioner Carollo is familiar

   with Domino Plaza but has no personal knowledge of the allegations

   and accordingly denies the allegations and demands strict proof

   thereof.

         218. As to paragraph 218, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         219. As to paragraph 219, Commissioner Carollo has no


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   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         220. As to paragraph 220, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         221. As to paragraph 221, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         222. As to paragraph 222, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         223. As to paragraph 223, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         224. As to paragraph 224, including the footnotes, the

   transcript of the testimony is a matter of public record and speaks

   for itself. Commissioner Carollo denies the summary provided in the

   allegations and demands strict proof thereof.

   CAROLLO’S RETALIATORY DEFAMATION AGAINST PLAINTIFFS
         225. As to paragraph 225, Commissioner Carollo denies the


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   allegations and demands strict proof thereof.

         226. As to paragraph 226, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         227. As to paragraph 227, Commissioner Carollo denies the

   allegations, asserts the quote is not complete, and demands strict

   proof thereof.

         228. As to paragraph 228, Commissioner Carollo denies the

   allegations, asserts the quote is incomplete, and demands strict proof

   thereof.

         229. As to paragraph 229, Commissioner Carollo denies the

   allegations, asserts the quote is incomplete, and demands strict proof

   thereof.

         230. As to paragraph 230, Commissioner Carollo denies the

   allegations, asserts the quote is incomplete, and demands strict proof

   thereof.

         231. As to paragraph 231, Commissioner Carollo denies the

   allegations, asserts the quote is incomplete, and demands strict proof

   thereof.

         232. As to paragraph 232, Commissioner Carollo denies the

   allegations, asserts the quote is incomplete, and demands strict proof


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   thereof.

         233. As to paragraph 233, Commissioner Carollo denies the

   allegations, asserts the quote is incomplete, and demands strict proof

   thereof.

         234. As to paragraph 234, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts the allegation constitutes a statement of law to which

   neither an admission nor denial is required.

         235. As to paragraph 235, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         236. As to paragraph 236, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.


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     CAROLLO’S ATTEMPT TO DESTROY VIERNES CULTURALES
      AFTER THE FILING OF THE COMPLAINT IN THIS ACTION
         237. As to paragraph 237, Commissioner Carollo denies the

   allegations and demands strict proof thereof. *

         238. As to paragraph 238, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         239. As to paragraph 239, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         240. As to paragraph 240, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         241. As to paragraph 241, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         242. As to paragraph 242, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         243. As to paragraph 243, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

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   demands strict proof thereof.

         244. As to paragraph 244, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         245. As    to     paragraph    245,    including     the    footnote,

   Commissioner Carollo denies the allegations, asserts the quote is

   incomplete, and demands strict proof thereof.

         246. As to paragraph 246, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         247. As to paragraph 247, Commissioner Carollo denies the

   allegations, asserts the information is incomplete, and demands

   strict proof thereof.

         248. As to paragraph 248, Commissioner Carollo denies the

   allegations, asserts the information is incomplete, and demands

   strict proof thereof.

         249. As to paragraph 249, Commissioner Carollo denies the

   allegations, asserts the statement is incomplete, and demands strict

   proof thereof.


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         250. As to paragraph 250, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         251. As to paragraph 251, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         252. As to paragraph 252, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         253. As to paragraph 253, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         254. As to paragraph 254, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

               VALENTINE’S DAY COMMISSION MEETING
         255. As to paragraph 255, Commissioner Carollo admits to the

   City of Miami Commission meeting, states that the events at that

   meeting are matters of public record and denies the remainder of the


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   allegations and demands strict proof thereof.

         256. As to paragraph 256, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         257. As to paragraph 257, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         258. As to paragraph 258, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         259. As to paragraph 259, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         260. As to paragraph 260, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         261. As to paragraph 261, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         262. As to paragraph 262, Commissioner Carollo admits to the

   City of Miami Commission meeting, states that the events at that

   meeting are matters of public record and denies the remainder of the

   allegations and demands strict proof thereof.

         263. As to paragraph 263, Commissioner Carollo admits to the

   City of Miami Commission meeting, states that the events at that


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   meeting are matters of public record and denies the remainder of the

   allegations and demands strict proof thereof.

         264. As to paragraph 264, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         265. As to paragraph 265, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         266. As to paragraph 266, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         267. As to paragraph 267, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts


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   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         268. As to paragraph 268, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

     FIRST AMENDMENT RETALIATION, NOT CODE VIOLATIONS
         269. As to paragraph 269, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts the allegation constitutes a statement of law to which

   neither an admission nor denial is required.

         270. As to paragraph 270, Commissioner denies the allegations

   and demands strict proof thereof. Commissioner Carollo further

   asserts the allegation constitutes a statement of law to which neither

   an admission nor denial is required.

         271. As to paragraph 271, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an


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   admission nor denial is required.

         272. As to paragraph 272, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         273. As to paragraph 273, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts the allegation constitutes a statement of law to which

   neither an admission nor denial is required.

         274. As to paragraph 274, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts the allegation constitutes a statement of law to which

   neither an admission nor denial is required.

        CAROLLO’S EFFORTS TO PREVENT PLAINTIFFS FROM
             PURCHASING ADDITIONAL PROPERTIES
         275. As to paragraph 275, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         276. As to paragraph 276, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts the allegation constitutes a statement of law to which

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   neither an admission nor denial is required.

         277. As to paragraph 277, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         278. As to paragraph 278, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         279. As to paragraph 279, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof.

         280. As to paragraph 280, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         281. As to paragraph 281, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.


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         282. As to paragraph 282, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

                          SUMMARY OF DAMAGES

         283. As to paragraph 283, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         284. As to paragraph 284, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         285. As to paragraph 285, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner


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   Carollo.

         286. As to paragraph 286, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         287. As to paragraph 287, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         288. As to paragraph 288, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         289. As to paragraph 289, Commissioner Carollo denies the


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   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable resulting from

   any conduct on the part of Commissioner Carollo.

         290. As to paragraph 290, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages

   resulting from any conduct on the part of Commissioner Carollo.

         291. As to paragraph 291, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         292. As to paragraph 292, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable resulting from

   any conduct on the part of Commissioner Carollo.

         293. As to paragraph 293, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages


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   resulting from any conduct on the part of Commissioner Carollo.

         294. As to paragraph 294, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages

   resulting from any conduct on the part of Commissioner Carollo.

         295. As to paragraph 295, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages

   resulting from any conduct on the part of Commissioner Carollo.

         296. As to paragraph 296, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable resulting from

   any conduct on the part of Commissioner Carollo.

         297. As to paragraph 297, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages

   resulting from any conduct on the part of Commissioner Carollo.

         298. As to paragraph 298, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages


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   resulting from any conduct on the part of Commissioner Carollo.

                           COUNT I
        VIOLATION OF THE CONSTITUTIONAL RIGHT TO FREE
             SPEECH AND FREEDOM OF ASSOCIATION
         299. As to paragraph 299, Commissioner Carollo asserts and

   realleges the identical responses to the numbered paragraphs.

         300. As to paragraph 300, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         301. As to paragraph 301, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         302. As to paragraph 302, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         303. As to paragraph 303, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         304. As to paragraph 304, Commissioner Carollo asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.


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         305. As to paragraph 305, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         306. As to paragraph 306, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         307. As to paragraph 307, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         308. As to paragraph 308, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         309. As to paragraph 309, Commissioner Carollo denies the

   allegations and demands strict proof thereof.

         310. As to paragraph 310, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts the allegation constitutes a statement of law to which

   neither an admission nor denial is required.

         311. As to paragraph 311, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further asserts the allegation constitutes a statement of law to which


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   neither an admission nor denial is required.

         312. As to paragraph 312, Commissioner Carollo denies

   “criminally violating the City Charter” and further asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         313. As to paragraph 313, Commissioner Carollo denies the

   allegations and demands strict proof thereof, and further asserts the

   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         314. As to paragraph 314, Commissioner Carollo has no

   personal knowledge and accordingly denies the allegations and

   demands strict proof thereof. Commissioner Carollo further asserts

   the allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         315. As to paragraph 315, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages

   resulting from any conduct on the part of Commissioner Carollo.

         316. As to paragraph 316, Commissioner Carollo denies the

   allegations and demands strict proof thereof, and further asserts the


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   allegation constitutes a statement of law to which neither an

   admission nor denial is required.

         317. As to paragraph 317, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner

   Carollo.

         318. As to paragraph 318, Commissioner Carollo moves to

   strike the punitive damages allegations. Commissioner Carollo

   denies     the   allegations   and   demands      strict   proof   thereof.

   Commissioner Carollo further denies plaintiffs experienced any

   recoverable damages and suggests they seek mental health treatment

   for their claims of mental anguish not resulting from any conduct on

   the part of Commissioner Carollo.

         319. As to paragraph 319, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   suggests they seek mental health treatment for their claims of mental

   anguish not resulting from any conduct on the part of Commissioner


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   Carollo, and further asserts the allegation constitutes a statement of

   law to which neither an admission nor denial is required.

         320. As to paragraph 319, Commissioner Carollo denies the

   allegations and demands strict proof thereof. Commissioner Carollo

   further denies plaintiffs experienced any recoverable damages and

   are therefore not entitled to any of the relief claimed. Commissioner

   Carollo further asserts the allegation constitutes a statement of law

   to which neither an admission nor denial is required.

                         DEMAND FOR JURY TRIAL
         321. Commissioner Carollo does not agree a jury trial is

   required as a matter of right.

                         AFFIRMATIVE DEFENSES
         322. First Affirmative Defense. Plaintiffs’ claims for damages

   are speculative and unavailable.

         323. Second     Affirmative     Defense.    Plaintiffs’   claims   for

   punitive damages have not been authorized by this Court and

   therefore must be stricken.

         324. Third Affirmative Defense. Plaintiffs’ claims for punitive

   damages are not allowed as a matter of law and fact. The SAC does

   not state a single time that it is seeking punitive damages against



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   Commissioner Carollo in his individual capacity. In fact, all the facts

   surrounding the SAC are alleged actions taken by Commissioner

   Carollo while acting as a City Commissioner in his official capacity.

   Punitive damage claims against an officer acting under official

   capacity are subject to dismissal with prejudice. Archer v. City of

   Winter Haven, No. 8:16-cv-3067-T-36AAS, 2018 U.S. Dist. LEXIS

   243133, at *31-32 (M.D. Fla. Sep. 26, 2018) (“To the extent Plaintiff

   seeks punitive damages against either the City or the Defendant

   Officers in their official capacities pursuant to § 1983, such claims

   are due to be dismissed with prejudice.”); Turner v. Wester, No.

   5:20cv199-MCR-MJF, 2021 U.S. Dist. LEXIS 76547, at *12 (N.D. Fla.

   Apr. 21, 2021) (striking punitive damages claims finding punitive

   damages “may not be recovered under § 1983 on the official capacity

   claims.”). Likewise, punitive damages against an individual are only

   allowed if the conduct in question is shown to be “motivated by evil

   motive or intent, or when it involves reckless or callous indifference

   to the federally protected rights of others.” Obremski v. Armor Corr.

   Health Servs., 467 F. Supp. 3d 1265, 1282 (S.D. Fla. 2020). The

   operative SAC does not allege these requirements.

         325. Fourth Affirmative Defense. Plaintiffs are engaged in a


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   fraud on the Court. Plaintiffs made and are making demonstrably,

   and materially false allegations done intentionally and in willful

   disregard of the truth when the plaintiffs have a duty to disclose the

   true facts so as not to deceive the court. The fraud extends to material

   misrepresentation concerning alleged statements by Commissioner

   Carollo. The plaintiffs are deceiving the court by falsely claiming they

   are following City Code when they are in material breach. The

   assertions that Sanguich de Miami is and should be allowed to utilize

   shipping containers utilized by other establishments is untrue and

   known by the plaintiffs to be untrue. The plaintiffs’ insistence the

   noise violations are fictitious are belied by the fact that the City has

   determined the plaintiffs and their business are in violation of the

   noise ordinance. The plaintiffs’ arrangement with a valet company for

   parking cars is illegal and violates City law. Jones v. SPMK XV

   Meadows, LLC (In re Jones), No. 20-06274-LRC, 2021 Bankr. LEXIS

   265, at *5-6 (Bankr. N.D. Ga. Feb. 4, 2021) (“Fraud on the court has

   five elements: (1) conduct of an officer of the court; (2) that is directed

   to the judicial [*6] machinery itself; (3) that is intentionally false,

   willfully blind to the truth, or in reckless disregard of the truth; (4)

   that is a positive averment or concealment when one is under a duty


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   to disclose; and (5) that deceives the court.”). “A movant who seeks

   relief    from   the   judgment   based       on fraud on   the court must

   establish fraud by      clear   and        convincing   evidence. Fraud on

   the court embraces "only that species of fraud which does or

   attempts to, defile the court itself, or is a fraud perpetrated by

   officers of the court so that the judicial machinery cannot perform in

   the usual manner its impartial task of adjudging cases.” (internal

   citation omitted). It is thus only egregious misconduct—such as an

   "unconscionable plan or scheme" to influence the court's decision—

   that constitutes fraud on the court.” Debose v. USF Bd. of Trs., 844

   F. App'x 99, 102 (11th Cir. 2021). “Fraud on the court must involve

   an unconscionable plan or scheme which is designed to improperly

   influence the court in its decision, preventing the opposing party

   from fully and fairly presenting his case.” (internal citation omitted).

   Davenport Recycling Assocs. & Sam Winer v. Commissioner, 220 F.3d

   1255, 1262 (11th Cir. 2000).

            326. Fifth Affirmative Defense. Plaintiffs’ have engaged in

   repeated and continuing violations of the City of Miami Code for

   which enforcement is available, thereby invalidating all claims raised

   by the plaintiffs.


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         327. Sixth Affirmative Defense. Plaintiffs’ claims are barred,

   in whole or in part, to the extent they have failed to mitigate the

   requested damages.

         328. Seventh Affirmative Defense. Any injuries to plaintiffs

   were caused by plaintiffs’ own fault and should be apportioned

   pursuant to Fla. Stat. § 768.81(2).

         329. Eighth Affirmative Defense. Commissioner Carollo is not

   liable to plaintiffs because any injury, loss, or damage that plaintiffs

   claim to have suffered are the result of intervening causes beyond the

   control of Commissioner Carollo or the City of Miami.

         330. Ninth Affirmative Defense Any act, event, or omissions

   were not done in bad faith or with a malicious purpose or in a manner

   exhibiting wanton and willful disregard of human right, safety. or

   property.

         331. Tenth Affirmative Defense. Plaintiffs failed to adhere to

   the notice requirement pursuant to Fla. Stat. § 768.28.

         332. Eleventh Affirmative Defense. The amount of recovery

   claimed by the plaintiffs is capped pursuant to Fla. Stat. § 768.28.

         333. Twelfth Affirmative Defense. Commissioner Carollo is

   entitled to sovereign immunity from suit. Defendant Carollo raises


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   this affirmative defense for all the reasons contained in his Motion to

   Dismiss    the   Second    Amended        Complaint   that   is   expressly

   incorporated into this affirmative defense (DE154).

         334. Thirteenth Affirmative Defense. Commissioner Carollo

   is entitled to legislative immunity from suit. Defendant Carollo raises

   this affirmative defense for all the reasons contained in his Motion to

   Dismiss    the   Second    Amended        Complaint   that   is   expressly

   incorporated into this affirmative defense (DE154).

         335. Fourteenth Affirmative Defense. Plaintiffs are barred

   from recovery under the impact rule because: (a) plaintiffs have not

   suffered a physical impact or physical manifestation of their claimed

   emotional distress; and/or (b) Commissioner Carollo’s conduct did

   not constitute malice, great indifference, willful or wanton conduct,

   or outrageous conduct.

         336. Fifteenth Affirmative Defense. Commissioner Carollo is

   entitled to a credit and/or setoff for all collateral sources or other

   sources or setoff. including settlement funds received from any entity

   in the past and/or future as related to the subject incidents. Thus,

   plaintiffs’ claim is limited and/or reduced by said credits and/or

   setoffs.


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         337. Sixteenth Affirmative Defense. Plaintiffs do not have

   standing to address alleged harm to non-parties, or to recovery of any

   damages arising from harm to non-parties. Defendant Carollo raises

   this affirmative defense for all the reasons contained in his Motion to

   Dismiss    the   Second    Amended        Complaint    that   is   expressly

   incorporated into this affirmative defense (DE154).

         338. Seventeenth Affirmative Defense. Plaintiffs’ claimed

   injuries, if any, were caused by a non-party to this lawsuit.

   Accordingly, fault should be proportioned to such non-parties in

   accordance with and pursuant to Fla. tat. § 768.81(3).

         339. Eighteenth Affirmative Defense. Plaintiffs do not state a

   plausible cause of action arising from the alleged violations of the

   City Charter. Defendant Carollo raises this affirmative defense for all

   the reasons contained in his Motion to Dismiss the Second Amended

   Complaint that is expressly incorporated into this affirmative defense

   (DE154).

         340. Nineteenth      Affirmative      Defense.    Plaintiffs   cannot

   recover for any injuries derived from alleged violations of the City

   Charter. Defendant Carollo raises this affirmative defense for all the

   reasons contained in his Motion to Dismiss the Second Amended


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   Complaint that is expressly incorporated into this affirmative defense

   (DE154).

         341. Twentieth Affirmative Defense. Plaintiffs cannot obtain

   a permanent injunction against further retaliation as it is contrary to

   law, constitutes an illegal prior restraint, is unconstitutional in that

   it attempts to prevent the City of Miami and Commissioner Carollo

   from the fair enforcement of municipal laws and ordinances laws,

   constitutes a violation of the equal protection clause, and is contrary

   to the public interest.

         342. Twenty-first Affirmative Defense. Plaintiffs’ damages

   claims are barred as speculative and not reasonably derived from the

   conduct alleged in the SAC.

        RESERVATION OF RIGHT TO SUPPLEMENT DEFENSES

         343. Commissioner Carollo reserves his right to raise additional

   affirmative defenses as they are discovered or are determined to exist

   during discovery.

                                                 Respectfully submitted,




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   S/ Thomas E. Scott                        S/ Benedict P. Kuehne
   THOMAS E. SCOTT                           BENEDICT P. KUEHNE
   Florida Bar No. 149100                    Florida Bar No. 233293
   COLE, SCOTT & KISSANE                     MICHAEL T. DAVIS
   9150 S. Dadeland Blvd., Suite 1400        Florida Bar No. 63374
   Miami, FL 33156                           KUEHNE DAVIS LAW, P.A.
   Tel: 305.350.5381                         100 S.E. 2 St., Suite 3105
   Fax: 305.373.2294                         Miami, FL 33131-2154
   Thomas.scott@csklegal.com                 Tel: 305.789.5989
                                             Fax: 305.789.5987
                                             ben.kuehne@kuehnelaw.com
                                             mdavis@kuehnelaw.com
                                             efiling@kuehnelaw.com




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                        CERTIFICATE OF SERVICE

         I certify on May 28, 2021, I electronically filed this document

   with the Clerk of the Court using CM/ECF. I also certify this

   document is being served this day on all counsel of record either via

   transmission of Notices of Electronic Filing generated by CM/ECF or

   in another authorized manner for those counsel or parties not

   authorized to receive electronically Notices of Electronic Filing.

                                             By: S/ Benedict P. Kuehne
                                                 BENEDICT P. KUEHNE




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